                                 OPINION
Charles D. Warren was convicted of possession of drugs (crack cocaine).  He was duly sentenced and filed a timely notice of appeal.  In due course, his appointed appellate counsel filed an extensive Anders brief, which thoroughly examined the record and the law and concluded that there were no meritorious issues for appeal.
On April 1, 1999, we informed Warren of the fact that his counsel had filed an Anders brief and granted him sixty days from April 1, 1999 to file his pro se brief, if any.
No such pro se brief has been filed.
We have thoroughly examined the record of the proceedings in this case, and we agree with the assessment of appellate counsel that there are no meritorious issues for appellate review.
The judgment appealed from is affirmed.
GRADY, P.J. and FAIN, J., concur.
Copies mailed to:
Carley J. Ingram
Tristan A. McCormick
Charles D. Warren
Hon. John P. Petzold